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                          IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH


ALEGEUS TECHNOLOGIES, LLC, a                         (PROPOSED) ORDER GRANTING
Delaware limited liability company,                  ALEGEUS TECHNOLOGIES, LLC’S
                                                     EX PARTE MOTION FOR
                   Plaintiff,                        TEMPORARY RESTRAINING
                                                     ORDER
       v.

DIGICERT, INC., a Utah corporation,                  Civil No. 2:24-cv-00534-HCN
                   Defendant.                        The Honorable Howard C. Nielson, Jr.


       This matter comes before the Court on Alegeus Technologies, LLC’s (“Alegeus”) Ex

Parte Motion for Temporary Restraining Order (“Motion”). Having reviewed the Motion,

Alegeus’ Verified Complaint and the exhibits submitted therewith, and good cause appearing

therefor, the Court hereby ORDERS as follows:

       For the reasons set forth in the Motion, the Court finds that Alegeus has satisfied the

elements for a temporary restraining order as set forth in Rule 65 of the Federal Rules of Civil

Procedure. Specifically, based on the information presented, the Court finds that:

               1. Alegeus will suffer irreparable harm if the Security Certificates for its
                  seventy-two (72) websites (the “Alegeus Websites”) are revoked. Specifically,
                  if the Security Certificates are revoked, it will disrupt Alegeus’ business by
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                   hindering and/or preventing Alegeus’ clients and their millions of plan
                   participants from accessing the Alegeus Websites to manage their various
                   healthcare accounts. The Court holds that this disruption and the
                   corresponding damage to its position in the marketplace, loss of goodwill and
                   damage to Alegeus’ reputation that it will suffer constitute irreparable harm.
                   See Dominion Video Satellite, Inc. v. Echostar Satellite Corp., 356 F.3d 1256,
                   1263 (10th Cir. 2004); Stainless, LP v. Sappington, 582 F.3d 1176, 1191-92
                   (10th Cir. 2009).

               2. Alegeus is likely to prevail on the merits of its claims. Pursuant to the Master
                  Services Agreement, Alegeus paid DigiCert, Inc. (“DigiCert”) to provide
                  digital security certificates for the Alegeus Websites. Despite that, according
                  to its July 29, 2024 communication, DigiCert stated that it failed to properly
                  ensure that the Security Certificates had the proper Domain Control
                  Verifications. That failure constitutes a breach of the Master Services
                  Agreement and, as set forth above, is likely to cause harm to Alegeus.

               3. The threatened injury to Alegeus outweighs any injury DigiCert might suffer
                  under the injunction. Alegeus seeks a short delay in the time it is required to
                  rekey and reissue the Security Certificates with DigiCert’s full support. As set
                  forth above, absent that delay, Alegeus will suffer severe and irreparable
                  harm. Conversely, the Court finds that a short delay will cause material harm
                  to Alegeus.

               4. The requested injunction is not adverse to the public interest. Specifically, the
                  public has an interest in millions of individuals being able to access and
                  interact with their health savings and similar accounts.

Based on the foregoing, the Court holds the Alegeus has satisfied the requirements for a

temporary restraining order.

       The Court holds that the Verified Complaint shows that immediate and irreparable injury,

loss or damage will result to the movant before the adverse party can be heard in opposition.

Additionally, Alegeus’ attorney has certified in writing the efforts it made to give notice to

DigiCert’s attorney. Specifically, it sent the material filed with the Court to DigiCert’s general

counsel and called DigiCert’s general counsel after sending the email. In light of these efforts

and the risk of immediate and irreparable harm, the Court hereby enters this order without notice

to DigiCert and before DigiCert can be heard in opposition.




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        IT IS HEREBY ORDERED that DigiCert is prohibited from revoking the security

certificates for the Alegeus Websites for a period of seven (7) days, or until the Court is able to

schedule a hearing on the Motion, whichever is earlier.

        Alegeus’ counsel is ordered to email a copy of this Temporary Restraining Order to

DigiCert’s general counsel immediately upon its entry by the Court.

        This Temporary Restraining Order is entered as of __:__ am/pm on July __, 2024.

        IT IS SO ORDERED.

                                                      BY THE COURT


                                                      ____________________________
                                                      Honorable Howard C. Nielson, Jr.


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